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      Michael P. Cooley (TX Bar No. 24034388)
      Keith M. Aurzada (TX Bar No. 24009880)
      Lindsey L. Robin (TX Bar No. 24091422)
      REED SMITH LLP
      2501 N. Harwood, Suite 1700
      Dallas, Texas 75201
      (469) 680-4200 (Telephone)
      (469) 680-4299 (Facsimile)

      Proposed Attorneys for the Debtor

                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

      In re:                                § Chapter 11
                                            §
      Rooftop Group International Pte. Ltd. § Case No. 19-31443-hdh11
                                            §
            Debtor.                         §

                   APPLICATION FOR AUTHORIZATION TO
                EMPLOY AND COMPENSATE REED SMITH LLP
                AS BANKRUPTCY COUNSEL FOR THE DEBTOR
      No hearing will be conducted hereon unless a written response is filed with the
      Clerk of the United States Bankruptcy Court at 1100 Commerce Street, Room 1254,
      Dallas, TX 75242 before close of business on June 19, 2019, which is at least 21 days
      from the date of service hereof.

      Any response shall be in writing and filed with the clerk, and a copy shall be served
      upon counsel for the moving party prior to the date and time set forth herein. If a
      response is filed a hearing may be held with notice only to the objecting party.

      If no hearing on such notice or motion is timely requested, the relief requested shall
      be deemed to be unopposed, and the Court may enter an order granting the relief
      sought or the noticed action may be taken.

            Rooftop Group International, Pte. Ltd., as debtor and debtor in
      possession (collectively, the “Debtor”) hereby files this application (the
      “Application”), pursuant to 11 U.S.C. § 327(a) and Rules 2014 and 2016 of
      the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for
      an order authorizing the retention of Reed Smith LLP (“Reed Smith”) as
      bankruptcy counsel to the Debtor in this chapter 11 case. This Application
      is supported by the Declaration of Michael P. Cooley (“Cooley


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      Declaration”) filed herewith. In support thereof, the Debtor respectfully
      states as follows:

                                                      I.
                                  JURISDICTION AND VENUE

            1.     This Court has jurisdiction over this Motion pursuant to
      28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C.
      § 157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

            2.     The predicate for the relief requested herein is found in
      § 327(a) and 330 of title 11 of the United States Code (the “Bankruptcy
      Code”) and Rules 1007(c) and 9006(b) of the Federal Rules of Bankruptcy
      Procedure (the “Bankruptcy Rules”).1

                                                      II.
                                           BACKGROUND

             3.       The Debtor is a private limited company organized under
      the laws of Singapore. The Debtor was formed to hold certain intellectual
      property assets, including registered trademarks and patents, relating to the
      manufacture and sale of hobby-grade drones under the name Propel RC®.
      At present, the Debtor has no operations and has no employees.

             4.       Certain of the Debtor’s prepetition secured creditors
      commenced collection actions against the Debtor in Singapore courts
      pertaining to prepetition debt obligations under which the Debtor was either
      a primary obligor or guarantor. Upon information and belief, the Debtor’s
      assets are not encumbered by any lien or security interest; however, a
      portion of the outstanding equity in the Debtor is pledged to secure
      repayment of certain of the Debtor’s prepetition obligations.

            5.        To preserve the value of its intellectual property assets for
      the benefit of all its unsecured creditors, on April 30, 2019 (the “Petition
      Date”), the Debtor filed a voluntary petition for relief under chapter 11. The
      Debtor continues to operate and manage its business as a debtor in
      possession pursuant to §§ 1107 and 1108. No statutory committee has been
      appointed in this case.

             1
                 Unless otherwise noted, section (§) references are to the Bankruptcy Code.

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                                           III.
                                RELIEF REQUESTED

             6.      In accordance with § 327(a) and Fed. R. Bankr. P. 2014 and
      2016, the Debtor requests entry of an order authorizing the employment and
      retention of Reed Smith as bankruptcy counsel to the Debtor in its chapter
      11 case and any related contested matters and adversary proceedings.
      Section 327(a) provides that a debtor, with the court’s approval, may
      employ counsel “to represent or assist the trustee in carrying out the
      trustee’s duties” under the Bankruptcy Code if such counsel does not hold
      or represent an interest adverse to the estate and is a “disinterested person”
      within the meaning of 11 U.S.C. § 101(14).

             7.     The Debtor requests that such relief be granted as of the
      Petition Date. Because this Application is filed within thirty days of the
      Petition Date, it is deemed to be filed contemporaneously with the
      commencement Reed Smith’s provision of services. See N.D. Tex. L.B.R.
      2014-1(b)(1).

                                           IV.
                                 BASIS FOR RELIEF

              8.    By this Application, the Debtor, pursuant to § 327(a) and
      Bankruptcy Rules 2014 and 2016, respectfully requests that this Court enter
      an order employing and retaining Reed Smith as attorneys to represent it as
      debtor and debtor in possession in connection with various matters,
      including the Debtor’s commencement and prosecution of these chapter 11
      cases. The Debtor has selected Reed Smith to serve as its attorneys because
      of Reed Smith’s knowledge of, and familiarity with, the Debtor’s business
      and financial affairs, its extensive, broad-based experience with virtually all
      aspects of law that may arise in the Debtor’s case, and in particular, Reed
      Smith’s recognized expertise in the field of insolvency, debtor and creditor
      rights, and business reorganizations under chapter 11 of the Bankruptcy
      Code.

             9.     Prior to the Petition Date, the Debtor initially retained Bryan
      Cave Leighton Paisner LLP (“Bryan Cave”) to provide legal advice on
      matters involving financial restructuring and insolvency issues, including to
      explore possible non-bankruptcy restructuring alternatives, as well as

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      preparation of the requisite petition, pleadings, exhibits, lists and schedules
      in connection with the commencement of the these cases. When the
      bankruptcy legal team representing the Debtor joined Reed Smith on May
      1, 2019, the Debtor retained Reed Smith to maintain continuity of
      representation.

             10.     As a result of its prior and current representation of the
      Debtor in various matters, including insolvency and restructuring matters,
      Reed Smith has the necessary background to deal effectively and efficiently
      with the broad and extensive legal issues and problems that will arise in the
      context of this case. Further, Reed Smith’s professionals have worked with
      the Debtor’s management and have become acquainted with the Debtor’s
      corporate history, debt structure, businesses and related matters, and the
      Debtor believes that Reed Smith is well-qualified and uniquely able to
      represent it in this case in an efficient and timely manner. Moreover, the
      employment and retention of Reed Smith is appropriate and necessary to
      enable the Debtor to faithfully execute its duties as debtor and debtor in
      possession, and is in the best interests of its bankruptcy estate.

            11.     Subject to further order of this Court, the Debtor proposes to
      employ Reed Smith to render general bankruptcy representation to the
      Debtor, including the following:

                a. take all necessary actions to protect and preserve the Debtor’s
                   estate, including, if required by the facts and circumstances,
                   the prosecution of adversary proceedings and other actions
                   and matters on the Debtor’s behalf, the defense of any actions
                   commenced against the Debtor, the negotiation of disputes,
                   including litigation, in which the Debtor is involved, and the
                   preparation of objections to, or motions to estimate, claims
                   filed against the Debtor’s estate where appropriate;

                b. provide legal advice with respect to the Debtor’s rights,
                   powers, and duties as debtor in possession in the continued
                   operation of its business and the management of its property;

                c. prepare on behalf of the Debtor all necessary motions,
                   applications, complaints, answers, orders, reports, notices,
                   schedules, and any other pleadings and legal documents in
                   connection with matters effecting the administration of the

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                    Debtor and its bankruptcy estate and the prosecution of this
                    case;

                d. assist the Debtor in connection with any disposition of the
                   Debtor’s assets, whether by sale or otherwise;

                e. assist the Debtor in the negotiation, preparation, confirmation
                   and consummation of any plan of reorganization or
                   liquidation, the preparation of a disclosure statement in
                   respect thereof, and in the preparation and execution of all
                   related documents and transactions;

                f. appear before the Court, any appellate courts and the United
                   States Trustee to protect the interests of the Debtor and its
                   bankruptcy estate before such courts and the United States
                   Trustee; and

                g. perform all other necessary legal services that the Debtor may
                   request in connection with these cases and pursuant to the
                   Bankruptcy Code.

             12.    The Debtor requires knowledgeable and experienced
      attorneys to render the foregoing professional services. Reed Smith desires
      and is willing to act in this case and render these necessary professional
      services as attorneys for, and on behalf of, the Debtor. Moreover, as
      indicated above, Reed Smith has represented the Debtor in connection with
      prepetition business insolvency, debt restructuring and reorganization
      matters, and with the preparation and commencement of this case.

                                            V.
        MATTERS RELEVANT TO THE RETENTION OF REED SMITH

              13.    To the best of the Debtor’s knowledge and belief, Reed Smith
      does not have any connection with, or any interest adverse to, the Debtor,
      its creditors, or any other party in interest or their respective attorneys and
      accountants, or to the United States Trustee for the Northern District of
      Texas, or any person employed in the office of the United States Trustee,
      except as set forth herein and in the Cooley Declaration filed
      contemporaneously herewith. Accordingly, the Debtor submits that Reed
      Smith and each of its attorneys do not hold or represent an interest adverse



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      to the Debtor’s estate that would otherwise render Reed Smith ineligible to
      serve as counsel for the Debtor pursuant to the provisions of § 327(a).

             14.     In light of the foregoing, the Debtor firmly believes that Reed
      Smith is qualified to represent its interests and the interests of its estates. If
      the Debtor were required to retain attorneys other than Reed Smith in
      connection with the prosecution of these cases, the Debtor, its estate, and
      all parties in interest would be unduly prejudiced by the time and related
      expense for such attorneys to familiarize themselves with the intricacies of
      the Debtor’s business operations and capital structures.

              15.    Prior to the Petition Date, the Debtor provided a retainer (the
      “Retainer”) to Bryan Cave in the amount of $55,000.00 for services
      rendered or to be rendered for the Debtor and for reimbursement of
      expenses incurred in representing the Debtor.2 From the Retainer, the sum
      of $21,354.60 was designated to pay for services rendered and expenses
      incurred prior to the Petition Date (the “Prepetition Payment”). The
      Prepetition Payment is made in the ordinary course for current amounts
      then due for services rendered by Bryan Cave prior to the Petition Date.
      The balance of the Retainer, in the amount of $33,645.40 remains on hand
      as a retainer for future services to be provided by Reed Smith.

              16.   Of the payments comprising the retainer, the two latter
      payments (totaling $50,000.00) were sent by wire from a bank in Singapore
      on the afternoon of April 29, 2019 (Dallas time). Because of the 13-hour
      time difference between Singapore and Texas, however, the two wires did
      not actually “hit” the Bryan Cave trust account until just after 4:00 am
      (Dallas time)—approximately 90 minutes after the Debtor’s voluntary
      chapter 11 petition was filed at 2:25 am (Dallas time). Nevertheless, Reed
      Smith requests that the entire Retainer, including the Prepetition Payment,
      be deemed to have been made prior to the Petition Date so that (i) Bryan
      Cave may retain the Prepetition Payment as payment for services rendered
      prior to the Petition Date and (ii) Reed Smith may retain the balance of the

               2
                 The Retainer was composed of three payments: a payment of $5,000.00 made on March
      25, 2019, a payment of $21,354.60 made on April 29, 2019, to pay for services rendered by Bryan
      Cave prior to the Petition Date, and another payment of $28,645.50 made on April 29, 2019, to be
      held as a retainer against future legal services.

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      retainer for application to the payment of allowed fees and expenses in this
      case following further order of the Court.

             17.    The Debtor does not owe Reed Smith any amounts relating to
      services rendered prior to the Petition Date, nor did Bryan Cave perform
      any legal services or incur any additional fees or expenses on or after the
      Petition Date. Reed Smith itself has received no payments from the Debtor.

            18.     The Debtor understands that Reed Smith intends to apply to
      the Court for allowances of compensation and reimbursement of expenses
      as permitted by and in accordance with applicable provisions of the
      Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules of the
      United States Bankruptcy Court for the Northern District of Texas (the
      “Local Rules”), and orders of this Court for all services performed and
      expenses incurred after the Petition Date.

             19.   Subject to the Court’s approval and the requirements of the
      applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the
      Local Rules, and the orders of this Court, the Debtor proposes to pay Reed
      Smith its customary hourly rates for services rendered that are in effect
      from time to time on the date the services are rendered, as set forth in the
      Cooley Declaration, and to reimburse Reed Smith for reasonable and
      necessary expenses according to its customary reimbursement policies.
      The Debtor understands that Reed Smith will maintain detailed,
      contemporaneous records of time and any actual and necessary expenses
      incurred in connection with the rendering of the legal services described
      above.

                                          VI.
                                      PRAYER

             WHEREFORE, the Debtor respectfully requests the entry of an
      order granting the relief requested herein, and granting such other and
      further relief as the Court deems just and proper.




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

      In re:                                § Chapter 11
                                            §
      Rooftop Group International Pte. Ltd. § Case No. 19-31443-hdh11
                                            §
            Debtor.                         §

                      DECLARATION OF MICHAEL P. COOLEY

      Pursuant to 28 U.S.C. § 1746, Michael P. Cooley declares as follows:

               1.   I am an attorney admitted to practice law in the States of
      Texas and New York; the Northern, Southern, Eastern, and Western
      Districts of Texas; and the Fifth Circuit Court of Appeals. I am a member
      in good standing of the State Bar of Texas and the State Bar of New York.

               2.    I am a partner at the law firm of Reed Smith LLP (“Reed
      Smith”) and am duly authorized to make this Declaration and Statement
      (the “Declaration”) on behalf of Reed Smith. I make this Declaration in
      support of the Application for Authorization to Employ and Compensate
      Reed Smith LLP as Bankruptcy Counsel for the Debtor (the “Application”)
      filed contemporaneously herewith. Except as otherwise set forth herein, all
      facts set forth in this Declaration are based upon my personal knowledge, or
      derived from information available to me which I believe to be true and correct.
      I will supplement this Declaration if pertinent additional information becomes
      available to me concerning any relationship between Reed Smith and the
      creditors or interest holders of Rooftop Group International Pte. Ltd. (the
      “Debtor”).

                                   General Statement

               3.   Insofar as I have been able to ascertain after due diligence,
      neither I, Reed Smith, nor any partner, associate, or counsel of Reed Smith,
      represent any party in interest or any other entity other than the Debtor in
      connection with this chapter 11 case. Thus, Reed Smith is a “disinterested




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       person,” as that term is defined in 11 U.S.C. § 101(14),1 as modified by
       § 1107(b), both in general and with respect to the matter on which Reed
       Smith is to be employed. Reed Smith’s due diligence has revealed that
       Reed Smith:

                         (a)      does not hold or represent any interest adverse to any
                                  Debtor or to the estate with respect to the matter on
                                  which Reed Smith is to be employed, nor fails to meet
                                  the “disinterestedness” test, so as to render Reed Smith
                                  ineligible to serve as counsel for the Debtor under
                                  § 327(a);

                         (b)      is not a creditor, equity security holder or insider of
                                  any Debtor and does not represent any entity (or its
                                  attorneys or accountants) other than the Debtor in
                                  connection with the Debtor’s case;

                         (c)      is not, and was not, within two years prior to the
                                  Petition Date, a director, officer or employee of any
                                  Debtor;

                         (d)      does not have an interest materially adverse to the
                                  interest of the Debtor’s estate or of any class of
                                  creditors or equity security holders of any Debtor, by
                                  reason of any direct or indirect relationship to,
                                  connection with, or interest in, any Debtor, or for any
                                  other reason; and

                         (e)      has no connections with any Debtor, or its creditors,
                                  equity interest holders, or any party in interest herein,
                                  or with the respective attorneys or accountants of the
                                  foregoing, or with the U.S. Trustee or any person
                                  employed in the Office of the U.S. Trustee, except as
                                  set forth herein.

                4.    Although Reed Smith may have has, in connection with
       unrelated matters, certain relationships with parties in interest and other
       professionals involved in this chapter 11 case, as more fully described
       below, Reed Smith has not represented any other party in connection with
       matters relating to the Debtor or the Debtor’s estate in this case.

                1
                 Unless otherwise noted, section (§) references herein are to title 11 of the United States
       Code (the “Bankruptcy Code”).


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                           Search and Disclosure Procedures

             5.      In preparing this Declaration, and to check and clear potential
       conflicts of interest in this case, I have used Reed Smith’s master client
       database and conflicts database system.

             6.       Reed Smith maintains a master client database of entities for
       which Reed Smith has previously provided services or has otherwise billed
       for services (the “Client Database”). In conjunction with the Client
       Database, Reed Smith maintains a computer software system that enables a
       user to input the name of an entity and search the Client Database for any
       related entities that Reed Smith currently represents or has represented in
       the past (the “Conflict Search System”).

             7.       In using the Conflict Search System to prepare this
       Declaration, I performed, or caused to be performed, the following actions
       to identify potential conflicts:

                    (a)    Through consultations with the senior management of
                           the Debtor, compiled a list of the names of any entities
                           that may be parties in interest in the Debtor’s chapter
                           11 case (“Potential Parties in Interest”). A list of the
                           Potential Parties in Interest is attached hereto as
                           Exhibit A.

                    (b)    Entered the names of each of the Potential Parties in
                           Interest into the Conflict Search System to pull
                           information on Reed Smith’s relationship with entities
                           in the Client Database that are or may be related to the
                           Potential Parties in Interest (the “Conflict Search
                           Results”).

                    (c)    Compiled the Conflict Search Results into a master list
                           (the “Potential Conflicts List”), and reviewed the
                           Potential Conflicts List to delete obvious name
                           coincidences and to delete those entities that (1) were
                           adverse to Reed Smith’s clients in the matter
                           referenced on the Potential Conflicts List and (2) are
                           adverse to the Debtor in this matter.




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                             Summary of Conflicts Analysis

              8.      The Potential Conflicts List revealed that various attorneys at
       Reed Smith may now or hereafter counsel or represent, or may have
       previously counseled or represented, certain creditors of the Debtor or other
       Potential Parties in Interest. Accordingly, Reed Smith attorneys divided the
       entities listed on the Potential Conflicts List into the following categories:
       (1) Potential Parties in Interest that are currently represented (or are
       affiliates of clients currently represented) by Reed Smith in another
       unrelated matter (“Current Clients”); and (2) Potential Parties in Interest
       that have been represented in the past (or are affiliates of clients represented
       in the past) by Reed Smith in another unrelated matter (“Former Clients”).
       Charts listing the Current Clients and Former Clients are attached to this
       Declaration as Exhibits B and C, respectively, and are fully incorporated
       herein for all purposes.

              9.     Reed Smith has reviewed each of the client connections listed
       on the attached Exhibits B and C. As a result of Reed Smith’s review, and
       as more fully described below, I believe that Reed Smith does not hold or
       represent an interest that is adverse to the Debtor or its estate.

                                      Current Clients

              10.     Reed Smith has determined from the Conflicts Search System
       that it currently represents certain Potential Parties in Interest (or affiliates
       of such Potential Parties in Interest) in matters unrelated to this chapter 11
       case. These Current Clients are listed on Exhibit B.

              11.      Reed Smith’s representation of these Current Clients will not
       affect its representation of the Debtor in this chapter 11 case, as Reed Smith
       has not represented any of the Current Clients in matters related to the
       Debtor. Where necessary or appropriate, Reed Smith will obtain a waiver
       or retain special counsel.

                                      Former Clients

              12.    Reed Smith has also determined from the Conflicts Search
       System that it previously represented certain Potential Parties in Interest (or



                                                                                 Page 4
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       affiliates of such Potential Parties in Interest) in matters unrelated to this
       chapter 11 case. These Former Clients are listed on Exhibit C.

               13.     Reed Smith’s representation of these Former Clients will not
       affect its representation of the Debtor in this chapter 11 case, as Reed Smith
       did not represent any of the Former Clients in matters related to the Debtor.
       Where necessary or appropriate, Reed Smith will obtain a waiver or retain
       special counsel.

                                     Supplemental Disclosures

               14.    Despite the efforts described above to identify and disclose Reed
       Smith’s connections with parties in interest in this case, because Reed Smith
       is an international law firm with over 1,500 attorneys across the globe,
       Reed Smith is unable to state with absolute certainty that every client
       representation or other connection has been disclosed. In this regard, if
       Reed Smith discovers additional information that requires disclosure, Reed
       Smith will file a supplemental disclosure with the Court.

                                      Payments to Reed Smith

               15.    Effective May 1, 2019, Reed Smith was retained by the
       Debtor to evaluate and advise on various strategic options and, ultimately,
       to assist in preparing for and representing the Debtor in connection with a
       case filed under chapter 11 of the Bankruptcy Code.

               16.  Prior to the Petition Date, the Debtor provided a retainer (the
       “Retainer”) to Bryan Cave in the amount of $55,000.00 for services
       rendered or to be rendered for the Debtor and for reimbursement of
       expenses incurred in representing the Debtor.2 From the Retainer, the sum
       of $21,354.60 was designated to pay for services rendered and expenses
       incurred prior to the Petition Date (the “Prepetition Payment”). The
       Prepetition Payment is made in the ordinary course for current amounts
       then due for services rendered by Bryan Cave prior to the Petition Date.


                2
                  The Retainer was composed of three payments: a payment of $5,000.00 made on March
       25, 2019, a payment of $21,354.60 made on April 29, 2019, to pay for services rendered by Bryan
       Cave prior to the Petition Date, and another payment of $28,645.50 made on April 29, 2019, to be
       held as a retainer against future legal services.


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       The balance of the Retainer, in the amount of $33,645.40 remains on hand
       as a retainer for future services to be provided by Reed Smith.

              17.     Of the payments comprising the retainer, the two latter
       payments (totaling $50,000.00) were sent by wire from a bank in Singapore
       on the afternoon of April 29, 2019 (Dallas time). Because of the 13-hour
       time difference between Singapore and Texas, however, the two wires did
       not actually “hit” the Bryan Cave trust account until just after 4:00 am
       (Dallas time)—approximately 90 minutes after the Debtor’s voluntary
       chapter 11 petition was filed at 2:25 am (Dallas time). Nevertheless, Reed
       Smith requests that the entire Retainer, including the Prepetition Payment,
       be deemed to have been made prior to the Petition Date so that (i) Bryan
       Cave may retain the Prepetition Payment as payment for services rendered
       prior to the Petition Date and (ii) Reed Smith may retain the balance of the
       retainer for application to the payment of allowed fees and expenses in this
       case following further order of the Court.

              18.    The Debtor does not owe Reed Smith any amounts relating to
       services rendered prior to the Petition Date, nor did Bryan Cave perform
       any legal services or incur any additional fees or expenses on or after the
       Petition Date. Reed Smith itself has received no payments from the Debtor.
       Accordingly, Reed Smith does not hold any prepetition claim against the
       Debtor’s estate.

                                  Benefit to the Estate

              19.    Reed Smith’s experience and expertise, as well as its
       familiarity with the Debtor and its business, will substantially benefit the
       Debtor’s estate by allowing Reed Smith to provide effective and efficient
       legal services in this chapter 11 case. Through its prepetition representation
       of the Debtor and its recognized knowledge and experience in virtually all
       aspects of chapter 11 bankruptcy cases, Reed Smith is well-positioned to
       assist the Debtor in its effort to maximize the value of its estate for the
       benefit of creditors and other interested parties.




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                         Compensation and Statement Pursuant to
                    11 U.S.C. §§ 329 & 504 and Bankruptcy Rule 2016(b)

                20.  Subject to the Court’s approval, and in accordance with Reed
       Smith’s agreement with the Debtor, Reed Smith intends to (a) charge for its
       legal services on an hourly basis in accordance with Reed Smith’s ordinary
       and customary hourly rates in effect on the date services are rendered and
       (b) seek reimbursement of actual and necessary out-of-pocket expenses in
       connection with the rendition of legal services in accordance with Reed
       Smith’s policies for all clients.3 Reed Smith will maintain detailed,
       contemporaneous records of time and any actual and necessary expenses
       incurred in connection with the rendering of the legal services described in
       the Application.

                21.   The fees charged by Reed Smith are based upon hourly rates,
       which are periodically adjusted in the normal course of the firm’s business.
       The hourly rates of the professionals who will be principally engaged in
       this matter are:

                         Michael P. Cooley                     Partner                      $715
                         Lindsey Robin                         Associate                    $490
                         Shikendra Bedford-Rhea                Paralegal                    $255

                22.   Reed Smith professionals and paraprofessionals will keep
       track of their billings on a tenth of an hour basis with time charges allocated
       in accordance with the categories set forth by the Office of the United
       States Trustee (the “US Trustee”).

                23.  Other than the Debtor’s agreement to compensate Reed Smith
       at the above-described hourly rates and to reimburse Reed Smith for the
       reasonable and necessary expenses incurred on behalf of the Debtor, Reed
       Smith has not received any promises from the Debtor or any other person to
       compensate or reimburse Reed Smith in connection with the Debtor’s case.

                24.  Neither Reed Smith nor any partners of Reed Smith have
       divided, paid over or shared, or agreed to divide, pay over or share, (a) any
                 3
                   The hourly rates charged by Reed Smith professionals differ based on, among other things,
       the professional’s level of experience and the rates normally charged in the location of the office in
       which the professional is resident.


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       compensation it or they has or have received or may receive for services
       rendered or expenses incurred in connection with this case with another party
       or person (except as among the partners, counsel and associates of Reed
       Smith), or (b) any compensation another party or person has received or
       may receive for services rendered or expenses incurred in connection with this
       case.

              25.    The proposed retention of Reed Smith is not prohibited by or
       improper under Bankruptcy Rule 5002. Reed Smith and the professionals it
       employs are qualified to represent the Debtor in the matters for which Reed
       Smith is proposed to be retained. Collectively, the Prepetition Payments
       represent the reasonable value of the actual prepetition services rendered to
       the Debtor by Reed Smith, together with a reasonable retained for services to be
       rendered. Reed Smith is not a prepetition creditor of the Debtor.

              I declare under penalty of perjury that the foregoing is true and
       correct.

       EXECUTED on May 29, 2019

                                                  /s/ Michael P. Cooley
                                                  Michael P. Cooley




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                                      EXHIBIT A

                              Potential Parties in Interest

       Debtor
       Rooftop Group International Pte. Ltd.

       Officers, Directors, and Equity Owners
       Darren Matloff
       Stephen Nelson
       Gandiva Investments Limited

       Unsecured Creditors and other Parties in Interest
       Triumphant Gold Limited
       Aktis Capital Advisory Ltd.
       Polar Ventures Hong Kong
       Polar Ventures Overseas Limited
       Begaline Singapore
       Begaline Ltd
       UOC Singapore
       UOC SPV1 Pte. Ltd.
       Brian Dlugash
       Asian Express Holdings Limited
       Sui Shulian
       Andre Hoffman
       Amax Industrial Group China Co, Ltd.
       Portcullis Trustnet Chambers
       Shulian Sui
       Tetro Limited
       L'occitane (Far East) Ltd.
       Pica Australia
       Suisuhai
       Disney Consumer Products, Inc (USA)
       Asian Express Holdings Ltd
       Knobbe Martens Olson & Bear
       Duane Morris LLP
       Amax Industrial Group China Co., Ltd.
       Gregor Steinborn
       Lee Waite
       Swerve Public Relations
       Low Cut Limited
       Go To Tigers
       Schenker Deutschland AG


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       OP Talent Limited
       Crystal Marbles
       S H Landes LLP
       Dunne and Waterman
       Midland Helicopters
       GLS General Logistics Systems Hungary Kft.
       Zangen Bansmann PR
       APPLAUD MEDIA
       Tech Data USA
       Tech Data UK
       RLVNT Distribution AB
       Mazars
       KCG Partners
       Lehrieder Catering-Party-Service GmbH & Co. KG
       Hot Pickle Trading Ltd
       Vertigo 6 BV
       Market Making LTD
       Red Agency
       MPIT Netherlands 1 BV
       North TQ
       Atlantis Internacional Spain
       Accessory Line
       Real View Digital Greece
       Juguetronica
       Extenso Telecom
       Computerworks




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                                       EXHIBIT B

                                     Current Clients

       Debtor and Affiliates
       None

       Officers, Directors, and Equity Owners
       None

       Unsecured Creditors and other Parties in Interest (or related entities)
       The Walt Disney Company
       Tech Data GmbH & Co oHG
       Tech Data Europe GmbH (HQ)




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                                       EXHIBIT C

                                      Former Clients

       Debtor and Affiliates
       None

       Officers, Directors, and Equity Owners
       None

       Unsecured Creditors and other Parties in Interest (or related entities)
       Knobbe, Martens, Olson & Bear, LLP
       Mazars, LLP
       Atlantis International Services SA




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

       In re:                                § Chapter 11
                                             §
       Rooftop Group International Pte. Ltd. § Case No. 19-31443-hdh11
                                             §
             Debtor.                         §

           ORDER GRANTING APPLICATION FOR AUTHORIZATION
             TO EMPLOY AND COMPENSATE REED SMITH LLP
              AS BANKRUPTCY COUNSEL FOR THE DEBTOR

              Came on for consideration the Application for Authorization to
       Employ and Compensate Reed Smith LLP as Bankruptcy Counsel for the
       Debtor (the “Application”)1 filed by Rooftop Group International Pte. Ltd.,
       as debtor and debtor in possession (the “Debtor”), and supported by the
       Declaration of Michael P. Cooley filed contemporaneously therewith. The
       Court finds that: (i) it has jurisdiction over the matters raised in the Motion
       pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding
       pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is
       in the best interests of the Debtor, its estates, and creditors; (iv) proper and
       adequate notice of the Motion has been given and no other or further notice
       is necessary; (v) Reed Smith LLP (“Reed Smtih”) and the Debtor have

                1
                 Capitalized terms used but not defined herein have the meanings assigned to them in the
       Application.

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       represented to the Court that Reed Smith is a “disinterested person” within
       the meaning of 11 U.S.C. § 101(14) and does not hold or represent any
       interest adverse to the Debtor or its estate; and (vi) upon the record herein
       after due deliberation thereon, good and sufficient cause exists for the
       granting of the relief as set forth herein. Accordingly, IT IS HEREBY
       ORDERED THAT:

             1.     The Application is GRANTED as set forth herein.

              2.     The Debtor is authorized pursuant to 11 U.S.C. § 327(a) to
       employ and retain Reed Smith as their bankruptcy counsel effective as of
       the Petition Date to provide professional services to the Debtor consistent
       with the scope of services described in the Application.

              3.    Reed Smith shall be compensated in accordance with the
       terms and conditions of Reed Smith’s engagement with the Debtor as set
       forth in the Application, subject to the procedures and requirements of
       11 U.S.C. §§ 330 and 331, Fed. R. Bankr. P. 2016(a), Local Bankr. R.
       2016-1, and any other applicable federal and local bankruptcy rules,
       procedures, and guidelines.

              4.     The Retainer paid to Bryan Cave Leighton Paisner LLP
       (“Bryan Cave”) in the amount of $50,000.00 shall be deemed to have been
       received by Bryan Cave prior to the commencement of this chapter 11 case.
       Accordingly, Bryan Cave is authorized to retain the Prepetition Payment in
       the amount of $21,354.60 as payment for services rendered prior to the
       commencement of this case, and Reed Smith may retain the remaining
       balance of the Retainer in the amount of $33,645.40 as a retainer to be
       applied to the payment of allowed fees and expenses upon further order of
       the Court.

                              # # # END OF ORDER # # #




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       Prepared and submitted by:

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       Proposed Attorneys for the Debtor




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